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                        UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF INDIANA
                            INDIANAPOLIS DIVISION

  HARRY KEVIN WADE,                             )
                                                )
          Plaintiff,                            )
                                                )
          v.                                    )
                                                ) CASE NO. 1:18-cv-2475-TWP-DLP
                                                )
  INDIANA DEPARTMENT OF CHILD                   )
  SERVICES, et al.,                             )
                                                )
          Defendants.                           )

                   DEFENDANTS’ REPLY IN SUPPORT OF THEIR
                      MOTION FOR SUMMARY JUDGMENT


     I.        Introduction

          Plaintiff’s response to Defendants’ motion for summary judgment [ECF 124]

  (“Response”) provides no legal or factual foundation to support his First

  Amendment retaliation claim. Except for a brief footnote, the Plaintiff does not

  address the Supreme Court’s holding in Umbehr, which applied the Pickering test to

  cases involving government contractors. Plaintiff also continues to rely on

  conclusory and otherwise unsupported statements to support each Defendant’s

  personal involvement and liability in this matter.

          The parties have each filed motions for summary judgment and responses to

  those motions. Defendants now submit this reply in support of their motion for

  summary judgment. However, because the issues being litigated on these cross-

  motions are substantially the same, Defendants hereby incorporate their previous
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  Motion for Summary Judgment and Brief in Support, [ECF 122, 123], and Response

  to Plaintiff’s Motion for Summary Judgment, [ECF 125], by reference, and will

  provide citation to those documents to avoid unnecessary duplication.

        In the end, the combined briefing and admissible evidence in this case leads

  to the following undisputed facts and conclusions of law that require the Court to

  enter summary judgment for Defendants:

        1. Plaintiff was employed by Lifeline and working pursuant to a contract

           with the Indiana Department of Child Services, so Pickering and Garcetti

           control this case as applied by Umbehr; [Defendants’ Response, p. 11-12.]

        2. Plaintiff’s speech to Family Case Manager McSween during a case

           consultation was made pursuant to his official duties as a DCS contractor,

           and was therefore entitled to no First Amendment protection under

           Garcetti; [Defendants’ MSJ, p. 17-18.]

        3. Plaintiff’s speech to McSween, in the context of a confidential DCS case

           consultation, was not made on a matter of public concern and was

           therefore entitled to no First Amendment protection. [Defendants’ MSJ, p.

           19-21.]

        4. Because Plaintiff does not address Defendants’ arguments that his speech

           wasn’t protected under Pickering or Garcetti, this Court should not

           consider the second prong of the Pickering analysis regarding whether

           DCS had adequate justification for its action;
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           5. But if the Court does find Plaintiff’s speech protected by the First

              Amendment, Defendants had provided ample evidence to justify their

              action as described below.

     II.      Defendants McSween, Decker, and May did not have the requisite
              personal involvement to support liability under § 1983

              a. Personal Involvement of Defendants McSween and Decker

           Plaintiff argues that because each of the named Defendants “directly

  participated in the retaliation against [him],” each of them can be held personally

  liable under § 1983. [Plaintiff’s MSJ, p. 9.] Not so. Simply showing that each

  Defendant had some knowledge of the events that underpin this case and took some

  action related to it is insufficient to show that each of them had the requisite

  “personal involvement” in the alleged constitutional violation itself to support

  liability. Section 1983 requires causation for personal liability. Monell v.

  Department of Social Services, 436 U.S. 658, 694 (1978) (“Indeed, the fact that

  Congress did specifically provide that A's tort became B's liability if B “caused” A to

  subject another to a tort suggests that Congress did not intend § 1983 liability to

  attach where such causation was absent.”) The personal involvement of a defendant

  must have caused the constitutional deprivation itself. Palmer, 327 F.3d at 594;

  Colbert v. City of Chicago, 851 F.3d 649 (7th Cir. 2017) (“The plaintiff must

  demonstrate a causal connection between (1) the sued officials and (2) the alleged

  misconduct.”). Here, the constitutional deprivation that Plaintiff alleges is that his

  employment with Lifeline was terminated and he was prohibited from receiving

  future DCS case referrals. Therefore, he must show that each Defendant performed
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  an action that caused him to be terminated by Lifeline or prevented him from

  receiving DCS cases.

        As to Defendants McSween and Decker, the undisputed evidence shows that

  McSween informed her supervisor about the conversation she had with Plaintiff,

  which was subsequently relayed to Decker. [Defendants’ MSJ, Ex. B, ¶¶ 14-16.; Ex.

  C, ¶¶ 13-16.] Both Defendants determined Plaintiff should not provide services for

  K.L., the transgender child on the referral in question. [Id.] Neither McSween nor

  Decker took any part in the decision made by Killen, Reed, or Sparks regarding

  Plaintiff, nor did they know about that decision until after it occurred. [Defendants’

  MSJ, Ex. B, ¶¶ 15-16.; Ex. C, ¶¶ 19-22.] Plaintiff doesn’t contradict this evidence—

  he merely argues that after McSween told her supervisors about the conversation

  with Plaintiff, “the remaining Defendants, then, determined that Wade could not

  put his religious beliefs and views aside in order to provide counseling services and

  set out on a course to ensure that Wade was both terminated from Lifeline and

  banned from providing future counseling services to DCS’s clients at another

  provider.” [Plaintiff’s Response, p. 9.] In a sense, Plaintiff’s argument is that if

  McSween and Decker had just been quiet, none of this would have happened. That

  doesn’t provide a causal link in the § 1983 context, which imposes liability if a

  defendant “acts or fails to act with a deliberate or reckless disregard of plaintiff's

  constitutional rights, or if the conduct causing the constitutional deprivation occurs

  at her direction or with her knowledge and consent.” Crowder v. Lash, 687 F.2d 996,

  1005 (7th Cir. 1982). The undisputed evidence shows McSween and Decker were
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  wholly unaware of the decision made by Reed, Killen, and Sparks until after it was

  made. [Defendants’ MSJ, Ex. B, ¶¶ 15-16.; Ex. C, ¶¶ 19-22.] Simply relaying factual

  information about an event to other DCS employees cannot be the “cause” of any

  potential unconstitutional action subsequently committed by those employees. In

  another context, if Police Officer A told Police Officer B that there was a suspicious

  car in the parking lot, and police officer B found the car and arrested the occupants

  without reason, it is obvious that “A” did not cause “B’s” unconstitutional action,

  even if B’s attention would never have been drawn to the car without A’s statement.

  So too, here. Summary judgment should be granted for Defendants McSween and

  Decker.

            b. Personal involvement and evidence against Defendant May

        As to Defendant May, the only evidence Plaintiff cites to support his claim

  against May is the letter from DCS to Lifeline that May drafted and was copied on.

  [Plaintiff’s Response, p. 9, citing Plaintiff’s MSJ, Ex. F.] First, the mere drafting of a

  letter relaying the decision of others cannot support May’s personal involvement in

  that decision. As the undisputed evidence shows, Reed, Killen, and Sparks made the

  decision to inform Lifeline that Plaintiff would no longer be permitted to provide

  services to DCS clients. [Defendants’ MSJ, Ex. A, ¶40.] That decision was relayed to

  Lifeline via phone by Killen on January 24, 2018. [Plaintiff’s MSJ, Ex. E, p. 5.] The

  letter wasn’t drafted at the time the decision was made, and wasn’t sent to Lifeline

  until January 25, 2018. [Plaintiff’s MSJ, Ex. D, p. 6 (Email from Killen on January

  25 indicating to recipients that “[w]hen the legal letter is ready, I will forward it to
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  you.”); Ex. F.] The fact that May memorialized the decision of Reed, Killen, and

  Sparks in a letter alone cannot show that May contributed to that decision, agreed

  with that decision, was in a position to countermand that decision, or had any

  substantive involvement in the decision at all.

        Plaintiff has not provided any evidence that May made, contributed to,

  agreed with, or otherwise had any involvement with the decision made by Reed,

  Killen, and Sparks. Nor has Plaintiff provided any evidence that would dispute

  Reed’s declaration that he, Killen, and Sparks made the decision regarding Plaintiff

  themselves. [Defendants’ MSJ, Ex. A, ¶40.] There is certainly no evidence that May

  attempted to have Plaintiff’s employment terminated from Lifeline. And because

  May was legal counsel for DCS, Plaintiff will never be able to elicit any further

  information absent DCS waiving attorney/client privilege. The lone evidence

  against May will forever remain that he drafted the letter that was sent to

  Lifeline—a letter which was sent on behalf of the “Child Welfare Services” division

  of DCS (headed by Reed) and specifically refers any questions to Defendant Reed.

  [Defendants’ MSJ, Ex. H.] As a matter of law, no finder of fact could reasonably find

  by a preponderance of the evidence that drafting a letter to a contractor

  memorializing a decision made by others that the contractor is already aware of

  itself violates the constitution. Summary judgment should be granted for

  Defendant May.

     III.   Plaintiff has waived any argument that his speech was protected
            under Garcetti and Pickering because he has wholly failed to
            respond to Defendants’ arguments
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           Defendants have provided extensive briefing regarding the appropriate

  standard to be used in evaluating Plaintiff’s First Amendment claims in their MSJ

  and Response to Plaintiff’s MSJ, including citation to the Supreme Court’s decision

  in Umbehr and the Seventh Circuit’s decision in Khuans. Defendants now

  incorporate those arguments here. [Defendants’ MSJ, p. 14-17; Defendants’

  Response, p. 8-12.] In response, Plaintiff simply argues that because this Court

  found that he was not an employee for due process purposes, [ECF 93, p. 5], he is

  not an employee for First Amendment purposes and the Pickering balancing test is

  inapposite. [Plaintiff’s Response, p. 1-2.] He offers no cogent response to Defendants’

  citation to authority and does not even attempt to distinguish Umbehr. It may

  trouble Plaintiff that different standards are used in evaluating factually-similar

  claims arising under different amendments to the constitution, but the Supreme

  Court has made that choice for him. His failure to respond should result in waiver

  of his arguments and summary judgment should be granted for Defendants.

  Mahaffey v. Ramos, 588 F.3d 1142, 1146 (7th Cir. 2009) (“Perfunctory, undeveloped

  arguments without discussion or citation to pertinent legal authority are waived.”).

     IV.      If the Court finds Plaintiff has made a prima facie case of
              discrimination under the Pickering balancing test, the following
              evidentiary issues related to the balancing test are material

                     i. No evidence supports Plaintiff’s contention that
                        Defendants’ wanted Plaintiff’s employment with Lifeline
                        to be terminated

           Plaintiff materially misstates the evidence in order to provide better footing

  for his claims. First, he claims that Defendant Killen contacted Plaintiff’s employer
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  “to ensure Wade’s termination from Lifeline. . .” [Response, p. 4, citing Defendants’

  MSJ, Exhibit A, ¶¶ 37-40.] This conclusion is unsupported by the evidence Plaintiff

  cites, which indicates that DCS informed Lifeline that Plaintiff “would no longer be

  permitted to provide services to DCS clients under paragraph 49 of the contract.”

  [Defendants’ MSJ, Exhibit A, ¶40.] No facts in that Defendant Reed’s declaration or

  any other cited evidence would allow a reasonable trier of fact to draw an inference

  that any Defendant wanted Lifeline to terminate Plaintiff’s employment. In fact, in

  the same declaration Defendant Reed affirmatively states that “DCS did not request

  or require Lifeline to take any employment action against Mr. Wade other than his

  removal from DCS cases under the contract,” and that “Lifeline’s decision to

  terminate Mr. Wade’s employment was, to the best of my knowledge, made solely at

  their discretion.” [Id., ¶¶ 46-47.]

         Instead, the undisputed facts show that, at most, Defendants McSween and

  Decker did not want Plaintiff to provide counseling to K.L., and Defendants Reed,

  Killen, and Sparks did not want Plaintiff to provide counseling services to DCS

  clients at all. [See Defendants’ MSJ, Ex. A, ¶¶ 38-45; Ex. B, ¶¶ 14-16, Ex. C, ¶¶15,

  19, 21, 22.]

            b. Plaintiff’s attempt to exclude certain evidence submitted by
               Defendants fails because he misconstrues the evidence and
               misapplies the rules of evidence

         Defendants argued in their MSJ that Reed, Killen, and Sparks made the

  decision to prohibit Plaintiff from providing services to DCS clients because Plaintiff

  indicated that he couldn’t provide services to DCS clients without expressing his
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  personal views. [Defendants’ MSJ, p. 8, citing Ex. A, ¶¶ 38-41.] Plaintiff objects to

  this evidence because:

        However, this argument is factually untrue and is unsupported by the
        evidence cited by Defendants. Initially, Wade notes that Defendants cite
        paragraph 41 of the Declaration of Defendant Decker in support of their
        argument. Wade never had a direct conversation with Decker regarding his
        religious beliefs or his ability or inability to provide counseling services to any
        DCS’s clients including to the transgendered child at issue in this case.
        Therefore, Decker is not in a position to offer testimony as to Wade’s alleged
        refusal or inability to provide counseling services to transgendered
        individuals, and the Court should disregard Decker’ testimony as hearsay.

  [Plaintiff’s Response, p. 5.] This argument is wrong in myriad ways.

        First, the citation to Defendants’ Exhibit A, paragraph 41, is the declaration

  of Reed, not Decker. Second, that declaration provides the factual support for how

  Reed came up with this knowledge: McSween talked to Wade, [Ex. A, ¶¶ 33-34],

  McSween talked to Sutton and Decker, [Ex. A, ¶ 35], Sutton talked to Killen, [Ex. A,

  ¶ 36], and Killen talked to Reed and Sparks. [Ex. A, ¶ 38]. All of this is supported by

  the declarations of both McSween and Decker, which the Reed declaration cites to.

  Third and more importantly, what Reed, Sparks, and Killen believed Plaintiff said

  is not hearsay at all because it is not being offered for the truth of the matter

  asserted—that is, it is not being offered to show that Plaintiff really couldn’t provide

  services to DCS clients without expressing his personal views. Fed. R. Evid.

  801(c)(2). Instead, Plaintiff’s statement, as relayed to Reed, Sparks, and Killen, is

  used to show the basis upon which their decision to remove Plaintiff from DCS cases
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  rested. Based on the information relayed to them—accurate or not1—they made the

  decision to prohibit Plaintiff from providing services to DCS clients.

                  c. Other matters

             Plaintiff asserts numerous times throughout his brief that he never refused

  to provide counseling to K.L. and he never violated any DCS policies. [Plaintiff’s

  Response, p. 6-7.] He also reiterates the facts he provides in his motion for summary

  judgment. [Id. at 6-8.] Defendants have responded to this evidence in their

  Response to Plaintiff’s Motion for Summary Judgment, [ECF 125, p. 2-8], and so

  they incorporate those arguments here by reference. But to be clear, Defendants

  have never asserted that Plaintiff refused to provide counseling to K.L. or other

  children—just that he indicated that he would not be able to provide services

  according to DCS’s policies that require him to abstain from judgmentally sharing

  his personal views that are adverse to those clients. [Id. at 3, citing Defendants’

  MSJ, Ex. A, ¶16 (“it is the expectation that providers and staff treat all individuals

  and families respectfully and nonjudgmentally, irrespective of one’s personal views

  of sexual orientation and/or gender identity.”)]

             Plaintiff has never produced admissible evidence—not even a statement in

  his declaration—to dispute that he told McSween that he did not agree with the

  transgender lifestyle or that it would be difficult for him to provide services to K.L.

  without expressing his personal views to K.L. and his family. His response attempts

  to create a dispute of fact by citing to paragraphs 15-19 of his declaration, where



  1
      Defendants note that Plaintiff does not refute this statement, but only argues that it should not be admissible.
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  Plaintiff states that he did not refuse to provide counseling services and that he did

  not violate any DCS or Lifeline policies. [Plaintiff’s MSJ, Ex. A, ¶¶ 15-19.]

  Defendants directly addressed the lack of any evidentiary basis for Plaintiff’s

  conclusion that he didn’t violate any DCS policies in their Response to Plaintiff’s

  MSJ. [Defendants’ Response, p. 2-4.] But more importantly, these statements don’t

  refute McSween’s recollection of Plaintiff’s conversation with her. At best, Plaintiff

  seems to argue that he hadn’t yet violated DCS’s policies, but that if assigned to

  counsel K.L. or a transgender child, he believed it would be difficult not to do so.

      V.       Even if Plaintiff’s speech was protected, Defendants were justified
               in prohibiting Plaintiff from having further contact with DCS
               clients2

      If this Court finds that Plaintiff’s speech to McSween was protected by the First

  Amendment, Defendants action to remove Plaintiff from contact with DCS clients

  was justified to ensure the efficient delivery of government services to at-risk youth.

  Under Pickering, the government may provide an adequate justification for treating

  an employee’s speech differently from a member of the general public. Garcetti v.

  Ceballos, 547 U.S. 410, 418 (2006). “This consideration reflects the importance of

  the relationship between the speaker's expressions and employment. A government

  entity has broader discretion to restrict speech when it acts in its role as employer,

  but the restrictions it imposes must be directed at speech that has some potential to

  affect the entity's operations.” Id.



  2
    Defendants concede for the purposes of summary judgment only that if the Court finds that Plaintiff’s speech was
  protected by the First Amendment that he has made a prima facie case of retaliation by meeting elements two and
  three of the Pickering analysis.
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            a. Adherence to DCS’s nondiscrimination policies ensures the
               effective delivery of government services

     Defendant David Reed is the DCS Deputy Director of Child Welfare Services and

  is responsible for overseeing the statewide operation of all DCS-contracted service

  providers. [Defendants’ MSJ, Ex. A, ¶¶ 3-4 8.] DCS has tens of thousands of open

  child abuse or neglect cases at any one time. [Id. at ¶¶ 5-6.] To efficiently provide

  services to children and families in these cases, DCS contracts with hundreds of

  non-governmental service providers. [Id. at ¶ 8.] The standard contract (and the one

  used in this case) with a service provider requires it to explicitly agree that if it

  accepts a referral from DCS, it has adequate staff with the necessary credentials to

  handle the referral under the terms of the contract. [Id. at ¶ 17, citing Ex. A, p. 3, ¶

  D.] This term allows a contractor to decline a referral in the event it does not have

  appropriate staff to handle the referral, and allows DCS to quickly find a

  replacement to provide the necessary services to children and families in need. [Id.

  at ¶¶ 18-19.]

     If a contractor accepts a referral, it has explicitly agreed to provide services

  under the terms of the contract, which includes adhering to the standardized

  policies listed in the contract. [Id. at ¶¶ 13-14, 20.] The contractor is also

  responsible for ensuring that the employees it assigns to a referral conform their

  conduct to the policies in the contract. [Id. at ¶ 21, 25.] Those policies include a

  requirement that all employees of a contractor “must be sensitive to the sexual

  and/or gender orientation of the family members, including lesbian, gay, bisexual,

  transgender or questioning (LGBTQ) children/youth. Services to youth who identify
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  as LGBTQ must also be provided in accordance with the principles in the Indiana

  LGBTQ Guidebook.” [Id. at ¶ 15, citing Ex. F, p. 3, ¶22.] And the LGBTQ Guidebook

  states that “it is the expectation that providers and staff treat all individuals and

  families respectfully and non-judgmentally, irrespective of one’s personal views of

  sexual orientation and/or gender identity.” [Id. at ¶ 16.]

     The terms of the contract place the onus on the contractor and its employees to

  abide by the applicable DCS policies for an important reason: It would not be

  feasible for DCS to attempt to screen each contractor’s employees for each of their

  potential personal biases and determine whether those personal biases may conflict

  with the services a particular child or family requires. [Id. at ¶ 23.] DCS therefore

  expects that a person assigned to a DCS case will provide services in a non-

  discriminatory manner, free from any bias from their personal views. [Id. at ¶ 23.]

  And if a person assigned by a contractor fails to meet this standard, the contract

  provides a remedy: DCS may prohibit that person from serving DCS clients

  altogether. [Id. at ¶ 26, citing Ex. E, p. 35-36, ¶ 49.]

            b. Because Plaintiff’s speech actually caused a disruption in
               government services to K.L. and would work a disruption
               generally, DCS’s action was justified

     In this case, Plaintiff’s speech to McSween that he did not agree with the

  transgender lifestyle and that he did not believe he could provide services to K.L.

  and his family without expressing his personal views to them is not only the type of

  speech that could reasonably interfere with the efficient delivery of government

  services, but it actually did interfere with the efficient delivery of services to K.L.
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  Plaintiff admits the obvious: his personal views regarding transgender people could

  “undermine the therapeutic process” with K.L. [Plaintiff’s MSJ, Ex. A, ¶ 13.] That,

  coupled with his statement to McSween that it would be difficult for him to provide

  services to K.L. without expressing his personal views, [Defendants’ MSJ, Ex. B, ¶

  13], reasonably indicated to Defendants that Plaintiff was not going to be able to

  treat K.L. or other transgender children “non-judgmentally, irrespective of [his]

  personal views of sexual orientation and/or gender identity,” as required by the

  contract. [See Defendants’ MSJ, Ex. A, ¶ 16, citing the LGBTQ Practice Guidebook.]

     Plaintiff’s decision to accept this referral subject to DCS’s policies and then

  indicate he couldn’t follow those policies worked actual damage to the delivery of

  government services to K.L. As Defendant Killen indicated in her email to Lifeline

  on January 18, 2018, because DCS staff believed that having Plaintiff provide

  therapy to K.L. would risk “harm to the well-being of the child,” DCS had to

  attempt to find another provider. [Defendants’ MSJ, Ex. G.] But no other provider

  in the region had any openings, and Lifeline did not have another therapist

  available to service the referral. [Id.] The disruption this worked was fateful: K.L.

  had to be removed from his home because intensive services were not available.

  [Id.]

          This incident illustrates precisely why adherence to DCS’s policies listed in

  the contract—including providing services non-judgmentally and irrespective of

  one’s personal views—is crucial for DCS to be able to effectively deliver government

  services. The consequences of a contractor accepting a referral and then indicating,
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  through his speech or otherwise, that he cannot provide those services in an

  appropriate manner can have disastrous consequences, harming children and

  families who need immediate assistance. Plaintiff’s speech, even if protected, must

  be properly subject to consequence because that speech is at odds with the core

  mission of DCS and with the very assignments Plaintiff was given. It is not feasible

  to require DCS to accept a contractor’s personal bias, constantly screen those biases

  against each individual case, and then accommodate those biases while attempting

  to ensure the effective delivery of services to over 20,000 children. [See Defendants’

  MSJ, Ex. A, ¶ 23.]

            c. Plaintiff’s argument that because his speech was about religion
               it was subject to special protection (or, perhaps, no restriction
               at all) isn’t supported by law in the Seventh Circuit

     Plaintiff argues throughout his Response and his Motion for Summary

  Judgment that because his speech was based on his religion, it was not actionable

  by DCS under any circumstances. [See Plaintiff’s Response, p. 12.] Not so. As

  Defendants’ have shown in their Response, that would create the potential for

  absurd results that substantially hinder the efficient delivery of government

  services. [Defendants’ Response, p. 8-12.] In addition to the cases cited in

  Defendants’ Response, the Seventh Circuit has also decided that speech regarding

  religion, including religious speech concerning the LGBTQ community, enjoys no

  special protection in the work environment.

     In Piggee v. Carl Sandburg Coll., 464 F.3d 667, 673 (7th Cir. 2006), Martha

  Piggee was a part-time cosmetology instructor at the Carl Sandburg College. Id. at
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  668. She gave a gay student at the school two religious pamphlets on the sinfulness

  of homosexuality and the student complained. Id. Piggee wasn’t retained as a

  teacher as a result, and she brought suit alleging violations of the First

  Amendment. Id. at 670.

      Piggee’s “real complaint”, similar to Plaintiff’s complaint here, had “to do with

  her ability to speak at the workplace, and in particular her ability to discuss

  matters of religious concern there.” Id. In analyzing Piggee’s claim, the Court noted

  that it was not very useful to focus on the fact that Piggee’s speech was about

  religion or about the pros and cons of homosexual behavior. Id. at 671. While those

  topics are deserving of full debate in the public square, the real question was

  “whether the college had the right to insist that Piggee refrain from engaging in

  that particular speech while serving as an instructor of cosmetology.” Id.3 The Court

  held that there was “no reason why a college or university cannot direct its

  instructors to keep personal discussions about sexual orientation or religion out of a

  cosmetology class or clinic.” Id. at 673.

      Piggee dooms Plaintiff’s argument that because his speech was regarding his

  religious beliefs, it was beyond the reach of DCS to regulate or sanction. [Plaintiff’s

  Response, p. 12 (But, it is irrelevant that Defendants found Wade’s speech or

  opinions offensive. Wade’s speech was religious in nature; Wade’s speech and beliefs

  were protected by the First Amendment.”) (internally citations omitted).] If a

  cosmetology school may restrict speech regarding religion and homosexuality


  3
    The Court did not apply Garcetti to this case because it found that her speech was not related to her job of
  instructing students in cosmetology. Id. at 672.
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  because it could interfere with their schooling curriculum, the Department of Child

  Services may restrict speech of a religious nature regarding Plaintiff’s personal

  beliefs about transgenderism that have the ability to directly impact the well-being

  of transgender or LGBTQ children in distress.

     Even if the Court reaches this interest-balancing point in the Pickering

  framework—which is should not—summary judgment should be granted for

  Defendants because of the weighty interests DCS has in efficiently and effectively

  providing services to at-risk children.

     VI.    Conclusion

     Defendants’ McSween, Decker, and May should be granted summary judgment

  because they lacked the personal involvement necessary sustain § 1983 liability. All

  Defendants should be granted summary judgment because Plaintiff’s speech wasn’t

  made as a private citizen, wasn’t on a matter of public concern, and was in any

  event outweighed by the interests of DCS in efficiently delivering government

  services to at-risk children. Finally, injunctive relief against Defendant Stigdon

  should be denied because there has been no First Amendment violation.

                                            Respectfully Submitted,

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                                            Indiana Attorney General
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                            CERTIFICATE OF SERVICE

        I hereby certify that on November 2, 2020, I electronically filed the foregoing

  with the Clerk of the Court using the CM/ECF system.




                                         Jordan M. Stover
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